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                                                                                                     WRITER'S DIRECT DIAL NO.
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                                                                                                     WRITER'S EMAIL ADDRESS
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                                                  Application GRANTED. The case shall be referred to the
September 26, 2024                                Magistrate Judge on duty for an initial appearance and
                                                  arraignment on September 27, 2024. In addition, an initial
VIA ECF                                           conference will be held on Friday, October 4, 2024, at 3:00 p.m.
                                                  in a courtroom to be determined by the Court.
Honorable Dale E. Ho
United States District Judge                      The Clerk of Court is respectfully requested to close ECF No. 6.
Southern District of New York
40 Foley Square, Courtroom 905                    SO ORDERED.
New York, NY 10007
                                                                                                                    DALE E. HO
Re:     United States vs. Adams (1:24-cr-00556-DEH)                                                   United States District Judge
                                                                                                      Dated: September 26, 2024
Dear Judge Ho:
                                                                                                           New York, New York
       I represent Mayor Eric Adams in the above-captioned case. We respectfully request to
appear before Your Honor for the arraignment of Mayor Adams on Friday, September 27, or
Monday, September 30. The Government does not object to our request.


Very truly yours,




Alex Spiro




        quinn emanuel urquhart & sullivan, llp
        ATLANTA | AUSTIN | BOSTON | BRUSSELS | CHICAGO | DOHA | HAMBURG | HONG KONG | HOUSTON | LONDON | LOS ANGELES | MANNHEIM |
        MIAMI | MUNICH | NEUILLY-LA DEFENSE | NEW YORK | PARIS | PERTH | RIYADH | SALT LAKE CITY | SAN FRANCISCO | SEATTLE | SHANGHAI |
        SILICON VALLEY | STUTTGART | SYDNEY | TOKYO | WASHINGTON, DC | ZURICH
